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Meredith A. Firetog
mfiretog@wigdorlaw.com
December 19, 2023

VIA ECF

The Honorable Jessica G. L. Clarke
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Courtroom 20C
New York, New York 10007

        Re:   Doe v. Combs, et. al., Case No.: 1:23-cv-10628 (JGLC)


Dear Judge Clarke,

We represent Plaintiff Jane Doe in the above-captioned matter. Pursuant to the Court’s Notice of
Initial Pretrial Conference, ECF 18, we write to inform the Court that we have served both the
Order and Your Honor’s Individual Rules on counsel for Defendants, per the email attached
hereto.

Respectfully submitted,


Meredith A. Firetog


Encl.
